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                     EXHIBIT D
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 1     IN THE UNITED STATES DISTRICT COURT FOR THE
 2             MIDDLE DISTRICT OF PENNSYLVANIA
 3   RIC SZABO,                        :
            Plaintiff                  :
 4                                     :    Civil Action No.:
                  vs.                  :    21-cv-00468
 5                                     :
     MUNCY INDUSTRIES, LLC             :
 6   D/B/A MUNCY MACHINE &             :
     TOOL CO., INC.,                   :
 7          Defendant                  :
 8                                 - - -
 9                   Wednesday, June 15, 2022
10                                 - - -
11                  Remote oral deposition of MEGAN
12   DELAHOUSSAYE, via Zoom videoconference,
13   conducted at the location of the witness in
14   New Iberie, Louisiana, taken on the above
15   date, beginning at approximately 1:00 p.m.,
16   before Jessica M. Gericke, RPR, CCR-NJ, and
17   Notary Public in and for Delaware, New Jersey,
18   and Pennsylvania.
19

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 1   APPEARANCES VIA ZOOM VIDEO CONFERENCE:
 2      MURPHY LAW GROUP, LLC
        BY: MARY KRAMER, ESQUIRE
 3      1628 John F. Kennedy Boulevard
        Eight Penn Center, Suite 2000
 4      Philadelphia, PA 19103
        267-273-1054
 5      mkramer@phillyemploymentlawyer.com
 6      Counsel for Plaintiff
 7

         STAPP LAW, LLC
 8       BY: GREGORY A. STAPP, ESQUIRE
         153 West Fourth Street
 9       Suite 6
         Williamsport, PA 17701
10       570-326-1077
         gstapp@stapplaw.net
11

         Counsel for Defendant and Deponent
12
13                                 - - -
14
15
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 1                               I N D E X
 2   WITNESS NAME                                                  PAGE
 3       Megan Delahoussaye
 4                  By Ms. Kramer                                  4
 5                                  - - -
 6

 7                          E X H I B I T S
 8   NO.                 DESCRIPTION                               PAGE
 9   Delahoussaye-1                                                22
                    E-mail Correspondence,
10                  Bates-stamp No.
                    MUNCY-000231
11

     Delahoussaye-2                                                24
12                  E-mail Correspondence
13                                  - - -
14

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 1                                 - - -
 2                         THE COURT REPORTER:             All
 3          parties to this deposition are appearing
 4          remotely and have agreed to the witness
 5          being sworn in remotely.               Due to the
 6          nature of remote reporting, please pause
 7          briefly before speaking to ensure all
 8          parties are heard completely.
 9                         Counsel, please state your
10          appearance.
11                         MS. KRAMER:         Mary Kramer for
12          the plaintiff, Ric Szabo.
13                         MR. STAPP:        Gregory A. Stapp,
14          S-T-A-P-P, for Muncy Industries.
15                                 - - -
16                         MEGAN DELAHOUSSAYE, after
17          having been first duly sworn, was
18          examined and testified as follows:
19   BY MS. KRAMER:
20         Q.       Good afternoon, Miss Delahoussaye.
21   My name is Mary Kramer and I am one of the
22   attorneys representing Ric Szabo in the matter
23   he brought against Muncy.
24                         The reason I have asked you



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 1   here today is just to ask you about what facts
 2   you have personal knowledge of and it's just
 3   going to be like a conversation.                   Then after I
 4   am finished, your attorney may have some
 5   follow-up questions, and then we'll be
 6   finished here.          All right?
 7         A.       Okay.
 8         Q.       So first I would like to just go
 9   over a few instructions with you.
10                         Have you ever had a deposition
11   taken before?
12         A.       Yes.
13         Q.       Okay.     What was that for?
14         A.       Previous with Ric.
15         Q.       Okay.     So nothing unrelated to
16   Mr. Szabo or his employment with Muncy?
17         A.       Correct.
18         Q.       Was that other deposition the only
19   time?
20         A.       Yes.
21         Q.       All right.        So as you already know,
22   I would just ask that you allow me to finish
23   asking my questions before you answer and,
24   likewise, I will do my best to allow you to



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 1   finish answering before I ask you the next
 2   question.
 3                         I would also ask that you keep
 4   your responses verbal instead of saying uh-huh
 5   or unh-unh or nodding or shaking your head.
 6   Because the court reporter will have a
 7   difficult time getting answers like that down
 8   on the record.          All right?
 9         A.       Yes, ma'am.
10         Q.       I do want to be very clear that I am
11   not asking about any privileged information.
12   So any communications or conversations that
13   you may have had with an attorney are not
14   things you need to tell me.                Okay?
15         A.       Yes, ma'am.
16         Q.       If your attorney has an objection to
17   my question, please allow us to resolve that
18   objection, and then go ahead and answer the
19   question.
20         A.       Yes.
21         Q.       If at any time you need to take a
22   break, just let me know, and I will be happy
23   to take that break.            The only thing I would
24   ask is if there is a question pending, please



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 1   just answer that question before we go on a
 2   break.      Okay?
 3         A.       Yes, ma'am.
 4         Q.       So with all of that out of the way,
 5   can you, please, state your name for the
 6   record?
 7         A.       Megan Delahoussaye.
 8         Q.       And how old are you?
 9         A.       I am 29.
10         Q.       What is your current mailing
11   address?
12         A.       216 Rynella Road, New Iberie,
13   Louisiana 70560.
14         Q.       And where in Louisiana was that?
15         A.       New Iberie.
16         Q.       (Inaudible.)
17         A.       I didn't hear you.
18         Q.       Is anyone in the room with you?
19         A.       No.
20         Q.       Do you have any notes with you?
21         A.       No.
22         Q.       How did you prepare for today's
23   deposition?
24         A.       I didn't.



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 1         Q.       Okay.      So I am just going to be
 2   asking some things then that are going to seem
 3   unnecessary, but just to be clear about it.
 4                          Did you review any documents
 5   outside the presence of your attorney in
 6   preparation of today's deposition?
 7         A.       No.
 8         Q.       Did you speak with anyone about
 9   today's deposition besides your attorney?
10         A.       No.
11         Q.       Is there anything that would prevent
12   you from testifying truthfully today?
13         A.       No.
14         Q.       The next question, it may sound
15   invasive, but I do not mean any offense by it.
16                          Are you currently taking any
17   drugs or medications that would interfere with
18   your ability to understand my question or to
19   tell the truth?
20         A.       No, ma'am.
21         Q.       And then are you currently taking
22   any drugs or medications that would impair
23   your memory?
24         A.       No, ma'am.



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 1         Q.       Okay.      When did you first learn
 2    about Mr. Szabo's claims against Muncy?
 3         A.       Right after he quit.
 4         Q.       And how did you learn about that?
 5         A.       Because my boss told me about it.
 6         Q.       After you learned about this matter,
 7    did anyone, excluding your attorney, give you
 8    instructions regarding saving documents that
 9    might be related to this matter?
10         A.       No.
11         Q.       To the best of your knowledge, since
12    you first learned of this lawsuit, have any
13    documents that are related to this matter
14    specifically and Mr. Szabo's employment with
15    Muncy generally been destroyed?
16         A.       No.
17         Q.       Have you ever plead guilty or no
18    contest to or been convicted of a felony or
19    misdemeanor?
20         A.       No.
21         Q.       Have you ever been charged or
22    arrested for a crime, regardless of whether or
23    not you were convicted?
24         A.       No.



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 1         Q.       (Inaudible.)
 2                          (Discussion held off the
 3           record.)
 4    BY MS. KRAMER:
 5         Q.       Miss Delahoussaye, what is your
 6    highest level of education?
 7         A.       I have some college.
 8         Q.       Did you graduate, get a degree?
 9         A.       I did not.
10         Q.       When did you finish school?
11         A.       High school?
12         Q.       Sorry.      College, the college you
13    attended?
14         A.       2012.
15         Q.       And what school was that, college
16    was that?
17         A.       Louisiana Technical College.
18         Q.       What did you major in there?
19         A.       Nursing.
20         Q.       What was your first job after you
21    left college?         If you remember.            I know it's
22    been about ten years.
23         A.       I believe it was working at the
24    Bayou Companies as a payroll clerk.



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 1         Q.       Did you say the Bayou Companies?
 2         A.       Yes.
 3         Q.       All right.        So a payroll clerk.
 4    What did you have to do in that position?
 5         A.       Log times onto certain jobs, you
 6    know, and payroll.
 7         Q.       How long were you with the Bayou
 8    Company?
 9         A.       A year and a half.
10         Q.       Were you terminated from that
11    position or did you resign?
12         A.       No.     I resigned.
13         Q.       What was your next job?
14         A.       I worked at Dynamic Industries.
15         Q.       Okay.      And what did you do there?
16         A.       HR assistant.
17         Q.       How long were you there?
18         A.       Two and a half years.
19         Q.       So what year would that take us to?
20         A.       Oh, God.
21         Q.       That's fine.         We can go over that.
22                          Again, were you terminated from
23    that position or did you resign?
24         A.       No.     I resigned.



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 1         Q.       Okay.      After Dynamic Industries?
 2         A.       I stayed home for a little while and
 3    then I started working at Flex Force.
 4         Q.       Flex Force, what was your title
 5    there?
 6         A.       Senior recruiter.
 7         Q.       Senior recruiter?
 8         A.       Yes.
 9         Q.       Were you terminated or did you
10    resign?
11         A.       I resigned.
12         Q.       I apologize if you already said.
13                          How long were you with Flex
14    Force?
15         A.       Two and a half years.
16         Q.       Okay.      Was that the last job before
17    Muncy or was there --
18         A.       Correct.       No.     That's the last job.
19         Q.       So then how long have you worked for
20    Muncy?
21         A.       Two and a half years.
22         Q.       Who hired you?
23         A.       Jason.
24         Q.       Jason Fetter?



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 1         A.       Uh-huh.
 2         Q.       What was your position at the time
 3    of hiring?
 4         A.       Plant administrator.
 5         Q.       What were your job duties in that
 6    position?
 7         A.       Ensure the plant was flowing
 8    correctly, scheduling jobs, and I was starting
 9    to do some inside sales.
10         Q.       Okay.      And who did you report to --
11         A.       Jason.
12         Q.       -- then and now?
13                          Did you always only report to
14    Jason?
15         A.       Correct.
16         Q.       Did anyone report to you?
17         A.       Yes.
18         Q.       (Inaudible) people?
19                          THE COURT REPORTER:             Please
20           repeat your question.
21    BY MS. KRAMER:
22         Q.       How many people reported to you?
23         A.       At the time of hire?
24         Q.       Yeah.



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 1         A.       I would say five or six.
 2         Q.       Five or six.          Was Mr. Szabo one of
 3    those people?
 4         A.       Yes.
 5         Q.       Did you have any authority to hire
 6    and fire employees?
 7         A.       Yes.
 8         Q.       Okay.       So then what's your position
 9    with Muncy now?
10         A.       I am plant administrator and
11    calibration scheduler.
12         Q.       And --
13         A.       I'm sorry.         I am plant manager.                 I
14    don't know if I said that.
15         Q.       That's totally fine.                 What are your
16    job duties as a plant manager?
17         A.       I have to turn in time.                 I have to
18    ensure my jobs are flowing correctly through
19    the shop.          Oversee shipping.         Oversee
20    production.         Oversee my assistant.
21                           Schedule calibration trips.
22    You know, get in contact with the customers,
23    send them quotes.            Receive purchase orders.
24    Input the orders into the system.                     Do billing.



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 1    Things like that.
 2         Q.       Okay.       Then when did get, I guess,
 3    promoted?          When were you promoted to plant
 4    manager?
 5         A.       January -- unh-unh.              Probably March
 6    of 2022.
 7         Q.       Okay.       So you weren't plant manager
 8    when Mr. Szabo was there?
 9         A.       No.
10         Q.       When you were the calibration -- the
11    plant administrator -- and was it calibration?
12         A.       I am sorry.          I made a mistake.
13                           I was promoted to plant manager
14    March of '21.
15         Q.       Twenty-one?
16         A.       Yes, ma'am.
17         Q.       Okay.       Could you repeat what your
18    position for that was, plant administrator and
19    what?
20         A.       I was doing some inside sales.
21         Q.       At the time of your hire until your
22    promotion, were you the only plant
23    administrator?
24         A.       Yes.



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 1         Q.       What is your work schedule like as a
 2    plant administrator and then even now as a
 3    plant manager?         Do you work 9:00 to 5:00?
 4         A.       8:30 to 5:00.
 5         Q.       8:30 to 5:00?
 6         A.       Yes.
 7         Q.       Is that your schedule every day?
 8         A.       Yes.
 9         Q.       Are you paid hourly or do you
10    receive a salary?
11         A.       Salary.
12         Q.       What is your salary (inaudible)?
13                          THE COURT REPORTER:             Please
14           repeat your question.
15    BY MS. KRAMER:
16         Q.       What is your salary as plant
17    administrator?
18         A.       As plant administrator?
19         Q.       Yes.
20         A.       I was making 52,000 per year.
21         Q.       Okay.      And then what is it now?
22         A.       Sixty-one, 62,000 per year.
23         Q.       Okay.      In your role as plant
24    administrator, did you exercise discretion and



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 1    independent judgment with respect to matters
 2    of significance?
 3         A.       Yes.
 4         Q.       Were you ever asked to work
 5    overtime?
 6         A.       No.
 7         Q.       So you never worked after 5:00?
 8         A.       No, ma'am.
 9         Q.       Okay.      And just to confirm, you're
10    still employed by Muncy, correct?
11         A.       Yes, ma'am.
12         Q.       You still only report to Mr. Fetter?
13         A.       Correct.
14         Q.       When he hired you, was that the
15    first time you had ever met him?
16         A.       No.
17         Q.       How did you meet Mr. Fetter?
18         A.       He had previously gotten in touch
19    with my former boss about a staffing relation.
20         Q.       What do you mean by that?
21         A.       He was going to use our staffing
22    company, the previous one I was working for.
23         Q.       Okay.      So he gets in touch with your
24    boss, your former boss.



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 1                          How did he get pointed in your
 2    direction?
 3         A.       Because I was a manager, the senior
 4    recruiter for that location.                So I went ahead
 5    and talked to him.
 6         Q.       And then what?          He asked you if you
 7    wanted to -- you wanted a new job?
 8         A.       No.     We had talked and talked about
 9    positions and, you know, I had explained to
10    him that I wasn't happy where I was at, you
11    know, and it went from there.
12         Q.       Okay.      So between the first time you
13    met Mr. Fetter and then your hiring at Muncy,
14    did you speak with Mr. Fetter a lot?
15         A.       Yes.
16         Q.       Was that all about the job, like,
17    the job that he wanted you to do and the job
18    you had been doing before --
19         A.       No.
20         Q.       -- at Flex Force?
21         A.       No.
22         Q.       Okay.      How would you describe your
23    relationship with Mr. Fetter?
24         A.       A normal boss and worker



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 1    relationship.
 2         Q.       Okay.      Do you ever interact with him
 3    outside of working hours?
 4         A.       No.
 5         Q.       Okay.      Have you ever traveled to a
 6    job site with Mr. Fetter?
 7         A.       Yes.
 8         Q.       Do you ever travel after 5:00 p.m.
 9    on your workday?
10         A.       I don't recall.
11         Q.       You don't recall?            Okay.      How often
12    does that happen, the traveling?
13         A.       I have only traveled twice, I want
14    to say.
15         Q.       Okay.      Are you familiar with Ric
16    Szabo?
17         A.       Yes.
18         Q.       (Inaudible) ever had any
19    conversations with Mr. Szabo or with anyone,
20    excluding your attorney, about Mr. Szabo or
21    about this matter in general?
22         A.       I'm sorry.        Repeat your question.
23         Q.       Let me rephrase.
24                          Have you spoken with Mr. Szabo



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 1    since he left Muncy?
 2           A.     No, ma'am.
 3           Q.     You said already that he reported to
 4    you.
 5                          So did you work with him on a
 6    regular basis?
 7           A.     Yes.
 8           Q.     Are you familiar with Mr. Szabo's
 9    position with Muncy?
10           A.     Yes.
11           Q.     What was that position?
12           A.     He was a calibration technician.
13           Q.     Okay.      And do you know when he was
14    hired?
15           A.     I do not.
16           Q.     Do you know when he stopped working
17    for Muncy?
18           A.     I believe it was July of 2020, I
19    think.      I am not sure right offhand.
20           Q.     That's all right if you don't know.
21    You can just say you don't know and we can
22    move on.
23           A.     I'm not sure.
24           Q.     Okay.      Do you know what Mr. Szabo



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 1    was paid while working as a calibration
 2    technician for Muncy?
 3         A.       I do not.
 4         Q.       What were Mr. Szabo's job duties
 5    when he worked for Muncy?
 6         A.       He was to calibrate all load cells
 7    that came in-house and he was also supposed to
 8    travel and calibrate at different customers'
 9    locations, their test beds and their
10    dynamometers and chain testers and things like
11    that.
12         Q.       Okay.      You said calibrate load
13    cells?
14         A.       Yes.
15         Q.       What does that mean?                What is a load
16    cell?     How about that?
17         A.       It's a certain amount of -- it's a
18    product that when you press down on it, you
19    can either have tension or compression.                        You
20    can use it to measure -- like, when there is a
21    test bed, you have to have a load cell inside
22    of it to be able to show your -- if it's 100 K
23    load cell, then you can only go up to 100 K.
24         Q.       Okay.      Thank you.        And you said



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 1    already that you gave Mr. Szabo assignments
 2    when you were plant administrator?
 3         A.       I gave him assignments once I
 4    started doing calibration, which was in May.
 5         Q.       So the inside sales portion of your
 6    job was giving him assignments?
 7         A.       Inside sales was starting to get --
 8    taking over the calibration side.                   So getting
 9    purchase orders for calibration.
10         Q.       Okay.      Were you the only person who
11    handled getting the purchase orders?
12         A.       Kimberly did before I did and I took
13    over her position.
14         Q.       Would that be Kimberly Bunting?
15         A.       Correct.       Yes, ma'am.
16         Q.       All right.        I am going to share my
17    screen with you and show you an e-mail you
18    sent to Mr. Szabo on July 7, 2020, which I
19    will mark as Delahoussaye-1.                Bear with me.
20         A.       Sure.
21                          (Exhibit Delahoussaye-1 marked
22           for identification.)
23    BY MS. KRAMER:
24         Q.       Sorry.      Okay.      I don't know if you



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 1    can see that yet?
 2         A.       Yes, ma'am.
 3         Q.       You can?
 4         A.       Yes.
 5         Q.       All right.        So what is that
 6    document?
 7         A.       So that was for him to do in-house.
 8         Q.       When you say in-house, you mean not
 9    with one of the job sites?               It was actually
10    within Muncy?
11         A.       Correct.
12         Q.       How often did you send e-mails like
13    this?
14         A.       Almost daily.
15         Q.       Almost daily?
16         A.       (Indicating.)
17         Q.       Dr. Mr. Szabo have to complete
18    everything in this list when you sent the
19    e-mails?
20         A.       Yes.
21         Q.       Did he let you know when he finished
22    these assignments?
23         A.       Correct.
24         Q.       I am going to stop sharing.



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 1         A.       Okay.
 2         Q.       Are you involved with the
 3    scheduling -- you already said you are.
 4                          So you are involved with the
 5    scheduling of work travel for the calibration
 6    technicians?
 7         A.       Correct.
 8         Q.       (Inaudible) involved since, what,
 9    May 2020, when you became involved with the
10    sales portion?
11         A.       Repeat your question.               It broke up.
12         Q.       Have you been involved in scheduling
13    ever since you switched to inside sales or
14    started doing inside sales?
15         A.       Correct.
16                          (Exhibit Delahoussaye-2 marked
17           for identification.)
18    BY MS. KRAMER:
19         Q.       I'm just going to share one more
20    time.
21                          Do you see that?
22         A.       Yes, I see.
23         Q.       Let me know if you need me to make
24    it bigger.



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 1          A.      Yep.     I can see it.
 2          Q.      So were these the kind of e-mails
 3    that you would send when you were giving out
 4    the calibration technician's schedule for the
 5    week?
 6          A.      Yes.
 7          Q.      So can you read under May -- under
 8    June 1, 2020, the fourth bullet point?
 9          A.      The fourth bullet point?
10          Q.      Yes.     I can hover over it.
11          A.      After completing calibration, three
12    hours, then stay the night in Corpus.
13          Q.      Do you know how long a calibration
14    would take?
15          A.      It varies on how fast the technician
16    is.
17          Q.      (Inaudible) if Mr. Szabo or another
18    technician would have needed to travel the
19    three hours that you were saying to travel
20    after 5:00 p.m., when their day ended?
21          A.      Repeat your question.               It broke up.
22          Q.      So are you aware that if a
23    calibration went until 5:00, one of the
24    calibration technicians would then need to



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 1    travel for the rest of the day, say, three
 2    hours to Corpus?
 3           A.     It's their choice.
 4           Q.     When you say it's their choice, if
 5    they said, "I am not going to drive until 8:30
 6    the next day," would that have affected their
 7    job?
 8           A.     No.
 9           Q.     There were no set start times for
10    when they needed to begin a job?                   It was just
11    a certain day?
12           A.     Correct.
13           Q.     So if a calibration technician,
14    including Mr. Szabo, if they had to work to do
15    this driving after 5:00 p.m., would they have
16    been compensated for that?
17           A.     That's not my expertise.
18           Q.     Okay.      As far as you know, was
19    Mr. Szabo ever involved in hiring or firing
20    employees?
21           A.     No.
22           Q.     Do you know if he was involved in
23    making decisions about hiring and firing
24    employees?



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 1           A.      No.
 2           Q.      When you say no, is that, no, he was
 3    not or, no, you do not know?
 4           A.      As far as calibration goes, he may
 5    have had some sway, you know, when talking
 6    about their resumes and stuff like that, but
 7    ultimately the decision was up to Jason.
 8           Q.      Okay.     So were resumes shared with
 9    him?        Were resumes shared with Mr. Szabo?
10           A.      I can't answer that question.                  I am
11    not sure.
12           Q.      As far as you know, did Mr. Szabo
13    supervise any other Muncy employees and direct
14    their work, such as giving them assignments or
15    saying where they would be traveling?
16           A.      No.
17           Q.      No, he did not?
18           A.      No.
19           Q.      As far as you know, did Mr. Szabo,
20    as a calibration technician, exercise
21    discretion and independent judgment with
22    respect to matters of significance?
23           A.      Yes.
24                          MR. STAPP:        I am going to



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 1           object to the form of the question.                        It
 2           calls for a legal conclusion.
 3                          I guess she can answer if she
 4           wants to, if she understands what you're
 5           asking her.
 6    BY MS. KRAMER:
 7         Q.       You can answer.           Because as you
 8    already said, you exercised this kind of
 9    discretion.
10                          So in that same measure, did
11    Mr. Szabo?
12         A.       Yes.
13         Q.       And how did he do that?
14         A.       He followed our ISO procedures.                      He
15    used his common judgment just like everybody
16    else.
17         Q.       So he used his common judgment?
18         A.       Correct.
19         Q.       (Inaudible) Mr. Fetter's approval?
20         A.       Can you repeat yourself?                You keep
21    breaking up.
22         Q.       I apologize.         As far as you know,
23    when exercising this discretion, did Mr. Szabo
24    need to get approval from Mr. Fetter?



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 1         A.       Approval on what?
 2         Q.       Whether he could do something?
 3         A.       That's a very open question.                   It
 4    depends on what it is.              What is something?
 5         Q.       I'm not familiar with calibration
 6    technicians' job duties.
 7                           So could he travel without it
 8    being assigned to him?
 9         A.       No.
10         Q.       Could he buy something without
11    Mr. Fetter saying okay?
12         A.       He had a credit card.                So he could
13    buy anything he wanted to, but he would need
14    approval.          If it was something frugal, if --
15    you know, because what he was allotted.
16         Q.       Okay.       Could he buy equipment for
17    his job without getting Mr. Fetter's approval?
18         A.       No.
19         Q.       As far as you know, was Mr. Szabo
20    responsible for making sales or obtaining
21    orders or contracts for services?
22         A.       No.
23         Q.       He was not involved in sales at all?
24         A.       I am not aware.



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 1         Q.       Okay.      For calibration technicians,
 2    those who worked there while you had been
 3    there, did they all have generally the same --
 4    you might not know this -- generally the same
 5    qualifications?
 6         A.       They vary.
 7         Q.       Does being a calibration technician
 8    require a degree?
 9         A.       It does not; however, you have to be
10    certified through us.
11         Q.       Through who?         Through Muncy?
12         A.       Correct.
13         Q.       How long does that certification
14    take?
15         A.       We generally do three to six months
16    of training and then they have to pass an
17    exam.
18         Q.       Is that an ongoing thing?                Do they
19    get tested once a year or something like that?
20         A.       Yes.
21         Q.       Okay.      As far as you know, is a
22    calibration technician -- being a calibration
23    technician, is that a manual job, like, you
24    use your hands?          Like a construction worker is



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 1    a manual job?
 2         A.       Yes.
 3         Q.       How often, if you know, was
 4    Mr. Szabo inside a Muncy office?
 5         A.       We generally like to stick with
 6    every other week.           It varies.
 7         Q.       Every other week.            And the rest of
 8    the time they were on job sites, calibration
 9    technicians?
10         A.       Correct.
11                          MS. KRAMER:        I think that's all
12           the questions I have.             Thank you.
13                          THE WITNESS:         Sure.
14                          MR. STAPP:        I don't have any
15           questions.
16                          (Witness was excused.)
17                          (Deposition concluded at
18           1:28 p.m.)
19

20

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 1                       C E R T I F I C A T E
 2                  I HEREBY CERTIFY that prior to the
 3    commencement of the examination, MEGAN
 4    DELAHOUSSAYE, was remotely sworn by me to
 5    testify to the truth and that the proceedings,
 6    evidence, and objections are contained fully
 7    and accurately in the stenographic notes taken
 8    by me upon the deposition taken on June 15,
 9    2022, and this is a true and correct
10    transcript of same.
11

12

13

14                  ________________________________
15                  Jessica M. Gericke, RPR, CCR-NJ,
                    and Notary Public
16

17

18                  (The foregoing certification of this
19    transcript does not apply to any reproduction
20    of the same by any means, unless under the
21    direct control and/or supervision of the
22    certifying reporter.)
23

24




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